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 7
                                 UNITED STATES DISTRICT COURT
 8
                                         DISTRICT OF NEVADA
 9
         JOHN MILLER,                                   Case No. 3:17-cv-00121-MMD-CSD
10
                    Plaintiff,
11
              v.                                        STIPULATION AND ORDER FOR
12                                                      DISMISSAL WITH PREJUDICE
         UNITED STATES OF AMERICA,
13
                    Defendant.
14

15           IT IS HEREBY STIPULATED AND AGREED, by and between the parties hereto,

16   that the above-entitled case shall be dismissed with prejudice, and each party will bear its own

17   costs and attorney fees.

18           DATED: April 7, 2022

19   ALLING & JILLSON, LTD.                               CHRISTOPHER CHIOU
                                                          Acting United States Attorney
20

21   /s/ Scott W. Souers                                  /s/ Holly A. Vance
     SCOTT W. SOUERS                                      HOLLY A. VANCE
22   Attorney for Plaintiff                               Assistant U.S. Attorney
                                                          Attorney for Defendant
23
     [




             IT IS SO ORDERED.
24
             The stipulation of the parties to dismiss this action with prejudice is GRANTED.
25
             DATED this ___ day of April, 2022.
26
                                                          __________________________________
27                                                        UNITED STATES DISTRICT JUDGE
28

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